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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 JENNIFER VIRDEN,                       §
             Plaintiff,                 §
                                        §
                                        §    Civil Case No. 1:21-cv-00271-RP
 v.                                     §
                                        §
 CITY OF AUSTIN, TEXAS,                 §
             Defendant.                 §


      PLAINTIFF’S OPPOSED MOTION FOR PRELIMINARY INJUNCTION


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TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                    INTRODUCTION

       Plaintiff Virden desires to raise campaign funds immediately, and the City has no

authority to tell her to wait until November. In 2018, the Fifth Circuit affirmed a

permanent injunction against Austin’s original blackout period (in article III of the City

charter), which limited campaign fundraising to the last six months before an election.

Zimmerman v. City of Austin, Tex., 881 F.3d 378 (5th Cir. 2018), cert. denied, 139 S. Ct.

639.    The new blackout period—adopted after the district court injunction in

Zimmerman—is unconstitutional for all the same reasons as the original blackout. It

should be enjoined immediately.

                      FACTUAL AND STATUTORY BACKGROUND

       Plaintiff incorporates her verified complaint in this motion, and, pursuant to

Western District Local Rule CV-7.d.1, describes certain additional facts in a factual

appendix filed with this motion, which includes her supplemental declaration.

                                      ARGUMENT

       Plaintiff requests a preliminary injunction so she and her supporters can exercise

their fundamental rights to speech and association without any further delay.

 I.        Virden is Presently Injured by the New Blackout Period.

       The Supreme Court has held that “where a regulation requires an immediate and

significant change in the plaintiffs' conduct of their affairs with serious penalties

attached to noncompliance, access to the courts ... must be permitted[.]” Abbott Labs.

v. Gardner, 387 U.S. 136, 153 (1967), abrogated on other grounds, Califano v. Sanders,

430 U.S. 99, 105 (1977). The blackout period prohibits Virden from undertaking her

desired campaign plans right now.


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       Virden has alleged in detail her desire to solicit and accept contributions from

supporters now, so that she can both fund timely advertisements on current issues,

which advertisements will also request support at the ballot box in 2022, and retain

some of the received funds for use closer to election day. Appx. 2, ¶¶ 3, 5, 6. In part,

and critically for purposes of this injunction motion, she desires to collect funds with

which to fund advertisements in advance of the May 1 City elections. Id. ¶ 7. Austin law

directly prohibits her from raising funds for these purposes. Code § 2-2-7(G) states that

“[a] candidate may only raise funds for an election during an authorized campaign

period,” and, for the November 2022 general elections, that period does not open until

November 8, 2021. To the extent that Charter art. III, § 8(F)(4) is also read to prohibit

fundraising by an “unsuccessful candidate” for a forthcoming election cycle, then it, and

Code § 2-2-7(E), also infringe Virden’s rights.

       Therefore, Virden will forego her desired fundraising plans because of the

challenged law(s) 1 unless and until she secures relief from the court. Seeking to advance

her 2022 campaign, she has publicly announced her intent to run for office on the

November 2022 ballot, and she has engaged counsel to prosecute this lawsuit in an

effort to free the way to begin fundraising.

       Because the statute has the present effect of deterring the exercise of Virden’s

First Amendment speech and associational rights, her rights are chilled and standing for

this pre-enforcement challenge is clear.          “In First Amendment pre-enforcement

challenges, chilling a plaintiff’s speech is a constitutional harm adequate to satisfy the


1 To the extent Charter art. III, § 8(F)(4) and Code § 2-2-7(E) also act to prohibit a candidate
from fundraising for a forthcoming election outside of the authorized campaign period, Virden
challenges them as well and any reference herein to the “blackout period” shall be read to
include these provisions.


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injury-in-fact requirement…and it is not necessary that a plaintiff first expose himself to

actual arrest or prosecution to be entitled to challenge a statute that he claims deters the

exercise of his constitutional rights.” Justice v. Hosemann, 771 F.3d 285, 291 (5th Cir.

2014) (internal quotations and citations omitted) (standing established where group of

“like-minded friends and neighbors” “contend that they would have pooled their

resources” for political advertisements, but did not do so “because of what they view as

Mississippi’s onerous and complicated disclosure requirements”). The Fifth Circuit

recently reiterated that “[i]t is not hard to sustain standing for a pre-enforcement

challenge in the highly sensitive area of public regulations governing bedrock political

speech.” Speech First, Inc. v. Fenves, 979 F.3d 319, 331 (5th Cir. 2020). See also

Constitution Party of Pennsylvania v. Aichele, 757 F.3d 347, 364 (3d Cir. 2014); Miller

v. Brown, 462 F.3d 312, 317-18 (4th Cir. 2006) (finding current injury because “the

mere existence of the open primary law causes these decisions to be made differently

than they would absent the law”); New Mexicans for Bill Richardson v. Gonzales, 64

F.3d 1495, 1500-02 (10th Cir. 1995) (challenge to statute preventing spending federal

campaign funds for state office was ripe, even though candidate had not announced a

run for state office, because it prevented him from making his campaign plans in

advance).

II.         Preliminary Injunction Standard

       A plaintiff seeking a preliminary injunction must establish:

       (a) a substantial likelihood of success on the merits;
       (b) a substantial threat of irreparable harm if the injunction is not granted;
       (c) that the threatened injury outweighs any damage that the injunction might
           cause the Defendants; and
       (d) that the injunction will not disserve the public interest.

Planned Parenthood v. Sanchez, 403 F.3d 324, 329 (5th Cir. 2005).


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       However, “[w]hen the Government restricts speech, the Government bears the

burden of proving the constitutionality of its actions,” McCutcheon v. FEC, 572 U.S. 185,

134 S. Ct. 1434, 1452 (2014), and “[t]he burdens at the preliminary injunction stage

track the burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal,

546 U.S. 418, 429 (2006); see also Ashcroft v. ACLU, 542 U.S. 656, 666 (2004).

Therefore, “[w]hen seeking a preliminary injunction in the First Amendment context,

the moving party bears the initial burden of making a colorable claim that its First

Amendment rights have been infringed, or are threatened with infringement, at which

point the burden shifts to the government to justify the restriction.” Sanders County

Republican Cent. Comm. v. Bullock, 698 F.3d 741, 744 (9th Cir. 2012).

       Because the “purpose of a preliminary injunction is to prevent irreparable injury

to the parties and ‘preserve the court’s ability to render a meaningful decision on the

merits,’” Planned Parenthood of Hidalgo County v. Suehs, 828 F. Supp.2d 872, 880

(W.D. Tex. 2012), the “relative position” to preserve is Austin not enforcing the

challenged provisions against Plaintiff.     See Texans for Free Enter. v. Tex. Ethics

Comm’n, 732 F.3d 535, 536 (5th Cir. 2013) (affirming preliminary injunction against

enforcement of a contribution limit under Texas Election Code).

       Facial challenges.        In the First Amendment context, a statute is facially

unconstitutional if “a substantial number of its applications are unconstitutional, judged

in relation to the statute’s plainly legitimate sweep.” Voting for Am., Inc. v. Steen, 732

F.3d 382, 387 (5th Cir. 2013).




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III.       Plaintiff is Likely to Succeed on the Merits

           A. The blackout burdens “the most fundamental”                           First
              Amendment rights and is subject to rigorous review.

       The new blackout severely burdens political speech and association.            But

“[d]iscussion of public issues and debate on the qualifications of candidates are integral

to the operation of the system of government established by our Constitution.” Buckley

v. Valeo, 424 U.S. 1, 14 (1976) (per curiam). “Indeed…the First Amendment ‘has its

fullest and most urgent application precisely to the conduct of campaigns for political

office.’” McCutcheon, 134 S. Ct. at 1441 (quoting Monitor Patriot Co. v. Roy, 401 U.S.

265, 272 (1971)). Accordingly, “contribution and expenditure limitations operate in an

area of the most fundamental First Amendment activities.” Id. at 14.

       Additionally, the Supreme Court has recognized that candidates frequently

represent not just themselves but a political cause, see Anderson v. Celebrezze, 460 U.S.

780, 790-94 (1983); id. at 792-93 (“[A]n election campaign is an effective platform for

the expression of views on the issues of the day, and a candidate serves as a rallying-

point for like-minded citizens.”), and burdens on candidacies burden voters’ “choice[s]

on the issues as well.” Williams v. Rhodes, 393 U.S. 23, 33 (1968).

       In light of the fundamental nature of the activity at issue, and the centrality of

candidates to the “expression of views on the issues of the day,” Anderson, supra, Austin

bears a heavy burden in seeking to justify these restrictions. In fact, strict scrutiny

should apply here. “Laws that burden political speech are subject to strict scrutiny,

which requires the government to prove that the restriction furthers a compelling

interest and is narrowly tailored to achieve that interest.” Ariz. Free Enter. Club’s

Freedom Club PAC v. Bennett, 131 S. Ct. 2806, 2817 (2011). Bennett said this despite



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the fact that the provision challenged there did not impose any direct restraint on the

plaintiff at all. The plaintiff candidate was merely chilled from spending funds because

exceeding a certain threshold would have allowed his opponents to receive contributions

in excess of the otherwise-applicable base limit. Bennett held that putting candidates to

that choice was an “unprecedented penalty on any candidate who robustly exercises his

First Amendment rights” because it “leads to advantages for opponents in the

competitive context of electoral politics.” 564 U.S. at 737 (emphasis added). Bennett is

one of several cases in which the Supreme Court has applied strict scrutiny to laws that

indirectly burdened campaign expenditures without imposing an outright ban or limit.

See, e.g., Ariz. Free Enter., 131 S. Ct. at 2818; Davis, 554 U.S. at 724; FEC v. Wisc. Right

to Life, Inc., 551 U.S. 449, 477 n.9 (2007). The Supreme Court has never considered a

categorical ban on all campaign contributions for a period of time, as under Austin’s

blackout period, but it is even more burdensome than the indirect burden in these cases

because it flatly prohibits candidates from raising any funds whatsoever for a period of

time.

        Virden recognizes that Zimmerman said that “closely drawn” scrutiny applied to

Austin’s original blackout period, and intermediate scrutiny is sufficient because she

wins anyway, as described below. Nonetheless, she makes this argument here primarily

to preserve it for potential review on appeal.      Temporal bans on all contributions

regardless of amount (banning even miniscule dollar amounts) are a severe restriction

of a type the Supreme Court has never considered, and the Supreme Court would likely

apply strict scrutiny.




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           B. The Blackout Period is facially unconstitutional.

       Considering Austin’s old blackout provision, allowing fundraising only six

months before election day, Zimmerman explained that “Austin must show (1) that the

six-month limit serves the sufficiently important interest of preventing actual corruption

or its appearance and (2) that it employs means that are closely drawn.” 881 F.3d at

391. The new blackout fails for all the same reasons as the prior blackout. Virden first

explains the unique burdens imposed by this type of temporal ban on contributions, and

then why Austin cannot demonstrate that it serves its anti-corruption interest or is

closely drawn to that interest.

               i. The Blackout Period is an especially pernicious burden on
                  First Amendment rights.

       Any restriction on the right to make or receive political contributions—whether

an amount limitation, a temporal ban, or a ban on solicitation—burdens a fundamental

right and incurs First Amendment scrutiny. The Blackout Period is especially damaging

to the robust public discussion of candidates and issues that Buckley and its progeny so

vigorously protect.

       First, Austin’s lackout period is exceedingly long, banning solicitations and

contributions for 36 months of every four-year cycle. Wealthy candidates can begin

campaigning as early as they want with their own money.          However, for non-self-

funding candidates, the blackout period acts simultaneously as a limit on campaign

expenditures, as money that cannot be raised cannot be spent. See Texans for Free

Enter., 732 F.3d at 539 (“[Plaintiff’s] ability to speak is undoubtedly limited when it

cannot raise money to pay for speech.”). Regardless of how small the prospective

contributions from any single source, the blackout imposes an aggregate limit of zero




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dollars in receipts by a candidate for a period of time. This distinguishes the blackout

period from base contribution limits because, even under base limits, the candidate’s

aggregate fundraising potential is unlimited. For these reasons, the blackout period is

materially different from base limits and instead functions as an expenditure limit on

City campaigns. See, e.g., Zeller v. Florida Bar, 909 F. Supp. 1518, 1524 (N.D. Fla. 1995)

(judicial canon prohibiting contributions to judicial candidates earlier than one year

before the election “necessarily ha[s] an impact on the amount of the candidate’s

campaign expenditures”); accord Opinion of the Justices to the House of

Representatives, 637 N.E.2d 213, 216 (Mass. 1994).

       Second, temporal restrictions—much less temporal bans—on political activity are

particularly suspect. In politics, “timing is of the essence,” Catholic Leadership, 764

F.3d at 431, and it is important to “get[] the message out in a timely[] or…even

instantaneous fashion.” Ariz. Right to Life PAC v. Bayless, 320 F.3d 1002, 1009 (9th

Cir. 2003).

              ii. Fighting “quid pro quo” corruption is the only cognizable
                  government interest in this area.

       Whether under strict or “closely drawn” scrutiny, the Supreme Court “has

identified only one legitimate governmental interest for restricting campaign finances:

preventing corruption or the appearance of corruption.” McCutcheon, 134 S. Ct. at

1450. The interest is defined narrowly to mean only “quid pro quo corruption”; that is,

“the notion of a direct exchange of an official act for money”—“dollars for political

favors.” Id. at 1441. “Ingratiation and access…is not corruption,” Catholic Leadership,

764 F.3d at 425 (quoting Citizens United, 558 U.S. 310, 360 (2010)), nor is “spending

large sums of money in connection with elections, but not in connection with an effort to



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control the exercise of an officeholder’s official duties.”   Id. (quoting McCutcheon,

supra, at 1450). Government may not seek to “‘level the playing field’… ‘equalize the

financial resources of candidates,’…or ‘restrict the speech of some elements of our

society in order to enhance the relative voice of others.’” McCutcheon, supra, at 1450.

       Moreover, the corruption threat must be supported by evidence of a real, not

merely conjectural, danger. Id.

              iii. Austin’s blackout period is an aggregate limit and invalid for
                   lack of a cognizable interest.

       In Zimmerman, with respect to government interest, the Fifth Circuit explained

that

       Austin must justify the limit with some evidence of actual corruption or its
       appearance. … Furthermore, following McCutcheon, an additional limit on
       contributions beyond a base contribution limit that is already in place
       must be justified by evidence that the additional limit serves a distinct
       interest in preventing corruption that is not already served by the base
       limit. … That is to say, Austin needed to establish that even if a $350
       contribution near the time of an election is not likely to lead to actual
       corruption or its appearance, the same contribution made at another time
       is. Furthermore, while the quantum of evidence needed is not clearly
       established, … what is needed to justify a temporal limit is additional to
       and distinct from what is needed to justify a dollar limit on
       contributions. … While Buckley and the long line of cases following it
       make clear that the dangers of large contributions “are neither novel nor
       implausible,” id., there is not the same well-trodden path regarding the
       dangers of contributions made far in time from an election.

881 F.3d at 391–92 (some internal citations omitted). Zimmerman held Austin’s 42-

month blackout period did not serve a legitimate government interest because Austin

“failed to present evidence to show how a contribution made seven months before

election day presents a different threat of quid pro quo corruption than a contribution

made three months before election day.” 881 F.3d at 391.




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        Austin responded by simply extending the fundraising window by six months.

But this new, 36-month long blackout on political association similarly fails, as the City

cannot present evidence that a contribution within the base limit made more than one

year ahead of an election presents a different threat of corruption than one made closer

to election day.

                        1. McCutcheon, Catholic Leadership, and Zimmerman
                           dictate the result here.

        Zimmerman affirmed judgment against the original blackout, citing Austin’s

failure to present evidence to support it, and the new blackout will fail for the same

reason. However, this is not merely due to a failure of evidence. A temporal limit

banning even small contributions does not address the quid pro quo corruption threat

as a matter of law. In other words, Austin cannot possibly provide any evidence that

would ever support a categorical ban on contributions—regardless of amount—for any

period of time.

        McCutcheon reiterates that the threat of quid pro quo corruption arises only in

the context of large contributions from one person to one particular candidate,

McCutcheon, 134 S. Ct. at 1442, 1452, 1460-61, and the aggregate limits failed to address

this threat because “once they kick in, they ban all contributions of any amount.” Id. at

1452.   Following shortly after McCutcheon, the Fifth Circuit characterized a Texas

statute, which required newly-registered “general purpose committees” to wait 60 days

and collect contributions from ten different contributors before making more than $500

in contributions, as an aggregate contribution limit and explained that Texas could not

justify the application of an aggregate, as opposed to a base, limit. 764 F.3d at 432-33

(“[I]f a single $500 contribution does not risk corruption, it is hard to see how three



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$167 contributions hold out such a significant risk of corruption that the former is

permitted and the latter is not.”); see also id. at 433 (“Texas would still be unable to

justify an aggregate limit—as opposed to per-candidate, per-committee, and per-party

base limits—under the logic of McCutcheon.”) (emphasis in original)

       In the same way, during Austin’s new blackout period, contributions of “any

amount” are banned, effectively imposing even a temporal base limit of zero dollars on

contributions from any single person, even though the same person may contribute up

to the base limit during the last 365 days before the election. The logic of McCutcheon,

Catholic Leadership, and Zimmerman dictates that Austin may set an appropriate base

limit, but restrictions unrelated to the danger of large financial transfers (at least,

“large” as defined by the base limit) from one contributor simply do not address quid

pro quo corruption. 134 S. Ct. at 1452; Catholic Leadership, 764 F.3d at 432.

       If anything, the blackout period is even more severe a burden than the aggregate

limits in McCutcheon. Instead of limiting the aggregate contributions that a single rich

individual may make to any number of candidates, Austin’s blunt blackout period

prohibits any candidate from accepting even tiny contributions from small-dollar

contributors who may not give to any other campaigns or causes.            Even before

McCutcheon, several courts identified temporal contribution bans as aggregate limits

and invalidated them for failure to address any corruption threat. See Shrink Mo. Gov’t

PAC v. Maupin, 922 F. Supp. 1413, 1424 (E.D. Mo. 1996) (“Maupin II”) (stating that a

ban on all contributions while the state legislature was in session “amounts to an

imposition of an aggregate limit on total contributions incumbents and candidates

receive during the banned time-period, in essence, a zero contribution limit”); Zeller,

909 F. Supp. at 1527 (“These restrictions amount to imposition of an aggregate limit on


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the total contributions judicial candidates receive during that time—namely, nothing.”).

Even if an individual wanted to give $10 to Virden, the contribution is absolutely

prohibited until November 8, 2021. Zimmerman correctly applied the reasoning of

McCutcheon and Catholic Leadership, holding that Austin has a base limit and it cannot

justify an additional, categorical ban on all contributions (within the base limit) based

on temporal proximity to an election. 881 F.3d at 392-93. The Fifth Circuit recognized

that the City conducts business year-round, and therefore the proffered danger (money

flowing in before important votes) was not temporally related to the period of the

blackout. The same is true today. One- and even two-year fundraising windows have

been held invalid applying the same reasoning, Zeller, 909 F. Supp. at 1525, 1527 (one-

year window for judicial campaigns invalidated even before McCutcheon); Jones v.

Jegley, 947 F.3d 1100 (8th Cir. 2020) (two-year window in Arkansas statute), and this

reasoning is now compelled in this Circuit by Zimmerman.

                        2. The true purpose behind the fundraising blackout
                           appears to be something other than addressing
                           corruption.

       In McCutcheon, the Supreme Court said that “[t]he improbability of

circumvention [of the federal base limits] indicates that the aggregate limits instead

further the impermissible objective of simply limiting the amount of money in political

campaigns.” 134 S. Ct. at 1456; see also Ariz. Free Enter., 131 S. Ct. at 2825 (noting

“[t]here is ample support for the argument that the matching funds provision seeks to

‘level the playing field,” the “clearest evidence” being “the very operation of the

provision”).   Similarly here, the “very operation” of Austin’s aggregate fundraising

blackout belies any anticorruption interest and instead indicates it is aimed at some

other impermissible purpose, such as limiting total fundraising and/or expenditures, or


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maintaining an arbitrarily abridged campaign season, perhaps in the City’s paternalistic

impulse to prevent voters from being exposed to election advertisements too early. The

fundraising blackout serves only to “handicap a candidate who lacked substantial name

recognition or exposure of his views before the start of a campaign.” Davis, 554 U.S. at

741 (quoting Buckley, 424 U.S. at 56-57). Whatever the true purpose, it is insufficient to

support the serious First Amendment burden imposed.

              iv. The blackout period is facially unconstitutional because it is
                  not appropriately tailored.

       Even if the blackout period were supported by a legitimate interest, it would be

invalid for lack of tailoring. “In the First Amendment context, fit matters,” McCutcheon,

134 S. Ct. at 1456, and McCutcheon demands a rigorous examination of whether the

blackout period is any broader than necessary to address the proffered threat. See id. at

1456-59.     In Catholic Leadership, the Fifth Circuit held that Texas’s temporal

contribution limit was not appropriately tailored because Texas could not explain (i) a

justification for the particular parameters it chose (60 days rather than another time

period), 764 F.3d at 429, 433; or (ii) why more narrowly-tailored base limits were not

acceptable in lieu of an aggregate contribution ban. Id. at 433. Austin’s new blackout

period clearly fails for these same reasons, among others.

                        1. There is no nexus between the period of Austin’s ban
                           and any corrupting activity.

       Austin’s blackout period is entirely arbitrary, as there is no nexus between the

period of the ban (permitting fundraising only in the last year before the election) and

any activity arguably posing an increased corruption threat, such as a Council session.

The fact that Defendants cannot link the specific period of the ban to any corrupting

activity is fatal.   Catholic Leadership held the temporal ban on general purpose


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committees was not “closely drawn” because the 60-day time period was arbitrary, 764

F.3d at 433 (“Texas does not provide any evidence supporting a 60-day aggregate

contribution cap as necessary”) (italics in original), and because a temporal contribution

limit that “kicks in regardless of…proximity…to a legislative session or judicial election

is vastly overbroad.” Id. Zimmerman rejected the City’s argument in defense of the

original blackout period by noting that the period of the ban does not coincide in any

meaningful way with any increased threat of corruption, 881 F.3d at 392, and the same

remains true today. See also Gordon, 2015 WL 138115, *12 (noting lack of “evidence

showing a nexus between the…almost eleven-month temporal ban on soliciting and

receiving contributions…and any activity arguably posing a risk of quid pro quo

corruption or its appearance”); Zeller, 909 F. Supp. at 1525 (holding that the

government “wholly failed to establish a sufficient nexus between the interest they are

trying to further—preventing the actuality or appearance of corruption—to the blanket

prohibition on solicitation and collection of judicial campaign contributions for a

lengthy period of time”). Cf. N.C. Right to Life, Inc. v. Bartlett, 168 F.3d 705, 716 (4th

Cir. 1999) (upholding state moratorium on contributions to legislative incumbents and

candidates because it was “narrowly tailored” in that the prohibition (i) applied only to

“lobbyists and the political committees that employ them—the two most ubiquitous and

powerful players in the political arena,” and (ii) “last[ed] only during the legislative

session, which typically, though not invariably, has covered just a few months in an

election year.”). 2



2Even if the blackout period tracked a City Council session or some other similar time period,
Austin still could not justify it in light of the option of using more narrowly-tailored base limits.
Catholic Leadership, 764 F.3d at 433.


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                        2. Austin’s 36-month ban is asymmetrical to any threat.

       Austin’s blackout lasts 36 months, allowing fundraising in only the last year of a

mayoral or council election cycle.      Courts have preliminarily enjoined temporal

contribution bans even when they are of far less severe duration. See Jones, 947 F.3d at

1107 (affirming injunction against statute that allowed fundraising for final two years

before election day); Shrink Missouri Government PAC v. Maupin, 922 F. Supp. 1413,

1419 (E.D. Mo. 1996) (granting preliminary injunction against state law that banned

contributions for “four and one-half months” during session, which “would prevent

candidates and political committees from amassing the resources necessary for effective

advocacy”).

                        3. More narrowly-tailored base limits provide a less
                           restrictive alternative.

       Even if Austin could muster an explanation as to why it chose to ban fundraising

for 36 months, as opposed to another time period, a complete fundraising blackout for

any period of time is still too blunt an instrument because the City cannot “advance[]

[any] reason why more narrowly-tailored base contribution limits” during its chosen

period “would not similarly serve its interests.” See Catholic Leadership, 764 F.3d at

436. This “would impose a lesser burden on First Amendment rights, as compared to

aggregate limits that flatly ban contributions beyond” certain time periods.         See

McCutcheon, 134 S. Ct. at 1458.

                        4. Austin has already addressed the threat of quid pro
                           quo corruption with narrow contribution bans and
                           reporting requirements.

       To the extent Austin can assert a legitimate interest in targeting contributions

presenting a higher than normal risk of corruption, it has already done so by limiting




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city lobbyists and their spouses to nominal contributions of $25, imposing an aggregate

limit on the bundling activity of individuals associated with “business associations” that

even hire a lobbyist, and requiring detailed reporting of such bundling activity. See VC ¶

59, 69. Therefore, the blackout period is spectacularly overbroad in that it applies to

everybody, while these purportedly high-risk contributors are already targeted with

narrower measures. Any contribution restriction that applies globally rather than only

against the specific threat proffered by the Government must be rejected for lack of

tailoring.   See, e.g., State v. Dodd, 561 So.2d 263, 265 (Fla. 1990) (invalidating

legislative-session contribution ban because it applied to all candidates, even

nonincumbents who posed no quid pro quo threat). See also FEC v. Nat’l Conservative

Political Action Comm., 470 U.S. 480, 498 (1985) (invalidating expenditure restriction

because even if “large pooling of financial resources…pose a potential for corruption,”

the law “is a fatally overbroad response” because “its terms apply equally to informal

discussion groups that solicit neighborhood contributions”); Family PAC, supra, at 812-

14. Cf. Bartlett, supra, at 716.

       Moreover, city candidates are already required to electronically report all

contributions of anything more than a de minimus amount according to a robust

schedule, and these reports are posted on the internet almost immediately.            The

Supreme Court and the Fifth Circuit have repeatedly found that bans and limits are not

appropriately tailored means of addressing corruption in light of technology permitting

timely public access to campaign finance information. See Catholic Leadership, 764

F.3d at 429.     Austin’s “choice to enact a [36-month contribution] limit is badly

‘asymmetrical’ to its interest in preventing quid pro quo corruption.” Id. (quoting

Citizens United, 558 U.S. at 361).


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                                                ***

       The alternative means of addressing the threat of corruption which the City has

already adopted provide examples of how the City may prevent corruption without

unduly abridging associational rights. See McCutcheon, 134 S. Ct. at 1458; Catholic

Leadership, 764 F.3d at 429; Zeller, 909 F. Supp. at 1527. The blackout period, layered

atop these narrower provisions, is overkill.           “This prophylaxis-upon-prophylaxis

approach requires that [the court] be particularly diligent in scrutinizing the law’s fit.”

McCutcheon, 134 S. Ct. at 1458 (internal quotations omitted). 3

IV.        Plaintiff Will Suffer Irreparable Harm Without the Injunction

       Without immediate relief, Plaintiff loses irreplaceable time for soliciting funds to

(i) fund desired immediate speech regarding current issues and (ii) begin amassing as

much as possible for her 2022 campaign, and all those who would contribute to her

campaign are denied the right of political association. Even without such a looming

electoral deadline, the Fifth Circuit has “repeatedly held…that the loss of First

Amendment freedoms for even minimal periods of time constitutes irreparable injury

justifying the grant of a preliminary injunction.” Texans for Free Enter., 732 F.3d at

539 (internal quotations omitted); see also Free Market Found. v. Reisman, 540 F.

Supp.2d 751, 758 (W.D. Tex. 2008).




3 The controlling McCutcheon opinion pointed out that “[i]t is worth keeping in mind that the
base limits themselves are a prophylactic measure. As we have explained, restrictions on direct
contributions are preventative, because few if any contributions to candidates will involve quid
pro quo arrangements. The aggregate limits are then layered on top, ostensibly to prevent
circumvention of the base limits. This prophylaxis-upon-prophylaxis approach requires that
[the court] be particularly diligent in scrutinizing the law’s fit.” 134 S. Ct. at 1458.


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 V.        Balancing of Harms

       Without a preliminary injunction, Plaintiff and her would-be contributors will

continue to suffer irreparable injury to their constitutional rights. By contrast, the City

suffers no comparable injury if the Court grants a preliminary injunction. The result

would simply be that candidates and their supporters would be permitted to associate

up to the base limits Austin has already enacted upon signing of the order rather than

waiting until November 8, 2021. The Supreme Court has made clear that in any conflict

between First Amendment rights and regulation, courts “must give the benefit of any

doubt to protecting rather stifling speech,” and that “the tie goes to the speaker, not the

censor.” Wisc. Right to Life, 551 U.S. at 469, 474. “The harm and difficulty of changing

a regulation cannot be said to outweigh the violation of constitutional rights it

perpetuates. It would be far worse that an election continue under an unconstitutional

regime than the [government agency] experience difficulty or expense in altering that

regime.” Foster v. Dilger, No. 3:10-CV-00041, 2010 WL 3620238, at *7 (E.D. Ky. Sept.

9, 2010) (not designated for publication).       Austin cannot even claim the type of

administrative or logistical difficulty that can accompany an injunction in other

contexts. Moreover, “Defendant’s legitimate interests can be protected by the reporting

statutes if preliminary injunctive relief is granted.” Free Market Foundation, 540 F.

Supp.2d at 759.

VI.        Effect on the Public Interest

       “[I]njunctions protecting First Amendment freedoms are always in the public

interest.” Texans for Free Enter., 732 F.3d at 539 (internal citation omitted). See also

Laredo Rd. Co. v. Maverick County, Tex., 389 F. Supp.2d 729, 748 (W.D. Tex. 2005)

(“[B]ecause its rights to free speech, as protected by the First Amendment, will be


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curtailed…[t]he granting of a preliminary injunction in favor of the Plaintiff will not

disserve the public’s interest, as a government’s constituents have a vested interest in

their government enacting constitutionally sound laws.”).

VII.       The Court Should Waive the Bond Requirement of FRCP 65(c)

       Under Federal Rule of Civil Procedure 65(c), “[t]he amount of security required is

a matter for the discretion of the trial court; it may elect to require no security at all.”

Corrigan Dispatch Co. v. Casa Guzman, 569 F.2d 300, 303 (5th Cir. 1978). Cases

raising constitutional issues are particularly appropriate for a waiver of the bond

requirement. See Ogden v. Marendt, 264 F. Supp.2d 785, 795 (S.D. Ind. 2003); Smith

v. Bd. of Elec. Comm’rs, 591 F. Supp. 70, 71 (N.D. Ill. 1984). Because “there will be no

monetary or other damages to any Defendant if a preliminary injunction is granted and

later dissolved,” the bond requirement is unnecessary. See Free Market Found. v.

Reisman, 540 F. Supp.2d at 759. Accordingly, Plaintiff respectfully requests that the

court waive the bond requirement in the event that it grants Plaintiff’s motion for

preliminary injunction.

                                      CONCLUSION

          For the reasons shown, after entertaining the City’s response and hearing, this

Court should grant a preliminary injunction preventing Defendant from enforcing the

new blackout period, §2-2-7(G) of the Code of Ordinances, against Plaintiff or against

any other candidate. The Court should likewise enjoin enforcement of Charter article

III, § 8(F)(4) and Code § 2-2-7(E), to the extent necessary to ensure the right to solicit

and accept campaign contributions for an upcoming election.




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                                         Respectfully submitted,

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                           CERTIFICATE OF CONFERENCE

       On March 31, 2021, the undersigned conferred by email with Anne Morgan and
Meghan Riley of the City Attorney’s Office of the City of Austin. Ms. Riley indicated that
the City is opposed to this motion for injunction.


                                         /s/ Jerad Najvar_________
                                         Jerad Najvar

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Motion for Preliminary
Injunction, and accompanying exhibits and proposed order, will be served in hard copy
with service of process, with a courtesy copy to be served immediately upon filing by
email on April 1, 2021:

       By email:
       anne.morgan@austintexas.gov
       meghan.riley@austintexas.gov
       City of Austin
       301 West Second St.
       Austin, TX 78701


                                         /s/ Jerad Najvar_________
                                         Jerad Najvar




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